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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

         United States of America                    )
                    v.                               )
                                                     )
            CHARL LE ROUX                            )       Case No. 21-mj-108-MEH
                                                     )
                 Defendant                           )




                             ORDER TO RESTRICT DOCUMENT


       This matter is before the Court on the Government’s Motion to Restrict Document. Upon

consideration and for good cause shown,

       IT IS ORDERED that portions of the Affidavit in Support of the Arrest Warrant, ECF No.

01-1 redacted in Attachment 1 of the Government’s Motion to Restrict Document, as well as any

order revealing the so-redacted contents, are hereby restricted at a Level at a “Level 1 Restriction"

and will be “viewable by Parties & Court” only, until further ordered by the Court.

       IT IS SO ORDERED on this            day of ________________, 2021.




                               HON. MICHAEL E. HEGARTY
                               UNITED STATES MAGISTRATE JUDGE
                               DISTRICT OF COLORADO
